                   Case 1:21-cr-00080-AMD Document 43-2 Filed 06/24/22 Page 1 of 6 PageID #: 282




                                                             Exhibit A


Second Circuit 241 Prosecutions
Case                        Citation                  Underlying Conduct                               Independent Crime
Bosselman v. United States 239 F. 82 (2d Cir. 1917)   Directed employees to doctor evidence material Obstruction of administration of
                                                      to grand jury                                  justice
Rosner v. United States     10 F.2d 675 (2d Cir.      Advising another to disregard DA letter          Obstructing administration of justice
                            1926)                                                                      (REVERSED)
United States v. Sager      49 F.2d 725 (2d Cir.      Lawyer sought to bribe juror                     Bribery
                            1931)
United States v. Pleva      66 F.2d 529 (2d Cir.      Falsifying voter machine returns                 Falsification of election records
                            1933)
United States v. Kantor     78 F.2d 710 (2d Cir.      Campaign treasurer interfered with voters at the Forgery/voter intimidation
                            1935)                     machines, rang up votes on the machines,         (REVERSED)
                                                      forged signatures of voters, and turned the
                                                      voting machines in improper positions in the
                                                      polling places
United States v. Manton     107 F.2d 834 (2d Cir.     Judge and stockholder conspiring to procure      Conspiracy to obstruct administration
                            1939)                     favorable actions for certain litigants          of justice and defraud the US
United States v. Polakoff   121 F.2d 333 (2d Cir.     Bondsman offered to secure low sentence for a    Obstructing administration of justice
                            1941)                     profit
United States v. Minkoff    137 F.2d 402 (2d Cir.     Defendant arranged to undergo operation to       Obstructing administration of justice
                            1943)                     secure mistrial
                    Case 1:21-cr-00080-AMD Document 43-2 Filed 06/24/22 Page 2 of 6 PageID #: 283




Case                         Citation                 Underlying Conduct                                 Independent Crime
United States v. Berke       50 F. Supp. 311          Company conspired with union officials to          Conspiracy to violate Fair Labor
Cake Co.                     (E.D.N.Y. 1943)          threaten/intimidate/discriminate against           Standards Act
                                                      employees who sought action against the
                                                      company
United States v. Brothman    191 F.2d 70 (2d Cir.     Federal grand jury investigation of possible       Endeavoring to influence a witness to
                             1951)                    violations of espionage laws                       give false testimony (Reversed on
                                                                                                         procedural grounds)
United States v.             491 F.2d 208 (2d Cir.    Intimidation of labor union members                None (REVERSED)
DeLaurentis                  1974)
United States v. Pacelli     491 F.2d 1108 (2d Cir.   Defendant murdered witness to prevent her          Murder of witness
                             1974)                    from testifying
United States v. Harvey      526 F.2d 529 (2d Cir.    Defendant murdered witness                         Murder of witness
                             1975)
United States v. Guillette   547 F.2d 743 (2d Cir.    Burglars murdered witness so he wouldn't           Murder
                             1976)                    testify
United States v. McClean     528 F.2d 1250 (2d Cir.   Systemic police extortion scheme                   Harassment/wrongful appropriation/
                             1976)                                                                       wrongful arrest
United States v. Housand     550 F.2d 818 (2d Cir.    A would-be killer-for-hire testified against the   Murder of witness
                             1977)                    actual murderers, then recanted (allegedly from
                                                      fear), then re-recanted
United States v. Anzalone    555 F.2d 317 (2d Cir.    Race-based intimidation to prevent black           Housing discrimination
                             1977)                    family from occupying a dwelling
United States v. King        563 F.2d 559 (2d Cir.    Police extorted and spied on citizens              Illegal surveillance/extortion
                             1977)
United States v. Cabrera     440 F. Supp. 605         Killing of an undercover informant                 Murder
                             (S.D.N.Y. 1977)
United States v. Cale        508 F. Supp. 1038        Terrorist group conspired to assassinate           Assassination conspiracy
                             (S.D.N.Y. 1981)          prominent critic
                    Case 1:21-cr-00080-AMD Document 43-2 Filed 06/24/22 Page 3 of 6 PageID #: 284




Case                          Citation                 Underlying Conduct                               Independent Crime
United States v. Bufalino     683 F.2d 639 (2d Cir.    Attempted recovery of $25,000 debt by threat     Conspiracy to murder witness
                              1982)                    to kill the debtholder (extortion) who then
                                                       testified
United States v. Ivic         700 F.2d 51 (2d Cir.     Croatian separatists conspired to murder         Murder conspiracy
                              1983)                    another Croatian partisan for advocating anti-
                                                       violence activism
United States v. Bagaric      706 F.2d 42 (2d Cir.     Croatian terrorists created “extensive           Extortion/murders/bombings
                              1983)                    international extortion scheme” targeting
                                                       moderate Croatians
United States v. Thomas       757 F.2d 1359 (2d Cir.   Organized crime group routinely arranged         Murder of witness
                              1985)                    murders of potential witnesses
United States v. Castellano   610 F. Supp. 1359        Organized crime group murdered witness           Murder conspiracy
                              (S.D.N.Y. 1985)
United States v.              918 F.2d 319 (2d Cir.    NYC Transit Police officers making false         False arrest
McDermott                     1990)                    arrests of individuals for committing sexual
                                                       abuse on the subway
United States v. Occhipinti   772 F. Supp. 170         INS agent committed various Fourth               Conducting illegal detentions,
                              (S.D.N.Y. 1991)          Amendment violations while investigating a       searches and seizures, making false
                                                       bodega suspected to be part of a drug ring       statements to cover-up such activities,
                                                                                                        and embezzling money from the
                                                                                                        bodegas.
Munger v. United States       827 F. Supp. 100         Defendant burned cross in lawn to protest        Interfering with housing rights by
                              (N.D.N.Y. 1992)          interracial couple                               means of force
United States v. DiNome       954 F.2d 839 (2d Cir.    16-month jury trial for racketeering and other   Murder of witness
                              1992)                    criminal charges (involving the Gambino crime
                                                       family)
United States v. DiLorenzo No. S1 94 CR. 303           Police officer extorted drug dealers             Illegal searches and seizures; theft
                           (AGS), 1995 WL
                           366377 (S.D.N.Y. June
                           19, 1995)
                    Case 1:21-cr-00080-AMD Document 43-2 Filed 06/24/22 Page 4 of 6 PageID #: 285




Case                         Citation                 Underlying Conduct                                Independent Crime
Scire v. United States       No. 96-CV-3446, 1997     Defendant firebombed realtor agency for           Bombing
                             WL 138991 (E.D.N.Y.      advertising to “people of all races”
                             Mar. 24, 1997)
United States v. Morales     107 F.3d 5 (2d Cir.      Defendant ran brothel smuggling illegal aliens    Prostitution conspiracy
                             1997)                    for prostitution
Ramos v. United States       No. 97 CIV. 2572         Customers inspector kidnapped a man to extort     Kidnapping
                             (JGK), 1998 WL           money or drugs
                             230935 (S.D.N.Y. May
                             8, 1998)
United States v. Crespo      No. 97 CR. 742-01        Police officers "searched without authority two   Illegal search and seizure; theft
                             (RWS), 1998 WL           apartments and a rear courtyard … and took
                             274298 (S.D.N.Y. May     and kept for themselves several kilograms of
                             26, 1998)                cocaine, among other things"
Fisher v. United States      6 F. Supp. 2d 254        Conspiracy to distribute narcotics via an         Conspiracy to murder government
                             (S.D.N.Y. 1998)          extensive narcotics enterprise                    witnesses
Ramirez v. United States     No. 96 CR. 397 (JGK),    Customs inspector kidnapped a man to extort       Kidnapping
                             1999 WL 980170           money or drugs
                             (S.D.N.Y. Oct. 27,
                             1999)
United States v. Volpe       224 F.3d 72 (2d Cir.     Police officer sexually assaulted detainee        Assault
                             2000)
United States v. Velazquez   246 F.3d 204 (2d Cir.    Prison guards beat inmate to death                Assault
                             2001)
United States v. Schwarz     283 F.3d 76 (2d Cir.     Police assaulted detainee                         Assault
                             2002)
United States v. Regnier     44 F. App’x 524 (2d Cir. Prison guard beat inmate to death                 Assault
                             2002)
United States v. Ferby       99 F. App’x 285 (2d Cir. Police conspired to enter “stash house” and       Unreasonable search/seizure
                             2004)                    seize jewelry without a warrant
                    Case 1:21-cr-00080-AMD Document 43-2 Filed 06/24/22 Page 5 of 6 PageID #: 286




Case                         Citation                  Underlying Conduct                             Independent Crime
United States v. Skinner     No. 03-CR-11A, 2005       Various police misconduct                      "personally committed various acts in
                             WL 782811 (W.D.N.Y.                                                      furtherance of the conspiracy,
                             Apr. 6, 2005)                                                            including falsifying evidence to obtain
                                                                                                      search warrants, stealing the property
                                                                                                      of others when executing the search
                                                                                                      warrants, sharing or seeking to share
                                                                                                      in the proceeds of thefts committed
                                                                                                      during the execution of the search
                                                                                                      warrants, and falsifying other
                                                                                                      paperwork"
United States v. Acosta      470 F.3d 132 (2d Cir.     Police routinely intimidated and abused        Armed robbery, warrantless searches
                             2006)                     suspects
Yushuvayev v. United         532 F. Supp. 2d 455       Immigration inspector conspired to forcibly    Kidnapping
States                       (E.D.N.Y. 2008)           remove witnesses from US to Korea
United States v. Perez       575 F.3d 164 (2d Cir.     Correctional officers beat inmate              Assault
                             2009)
United States v. Lopresti    340 F. App’x 30 (2d Cir. Correctional officer beat inmate                Assault
                             2009)
Moskowitz v. United States 64 F. Supp. 3d 574          Defendant lied to FBI during espionage         Obstructing administration of justice
                           (S.D.N.Y. 2014)             investigation
United States v. Spaulding   631 F. App’x 5 (2d Cir.                                                  Falsification of police report
                             2015)
United States v. Krug        868 F.3d 82 (2d Cir.      Police used excessive force during arrest      Assault
                             2017)
United States v. Coll        762 F. App’x 56 (2d Cir. Correctional officer beat prisoner to death     Assault
                             2019)
United States v. Scott       979 F.3d 986 (2d Cir.     Correctional Officers beat and abused prisoners Assault
                             2020)
                    Case 1:21-cr-00080-AMD Document 43-2 Filed 06/24/22 Page 6 of 6 PageID #: 287




Case                       Citation                  Underlying Conduct                           Independent Crime
United States v. Fisher    493 F. Supp. 3d 231       Conspiracy to distribute narcotics via an    Conspiracy to murder government
                           (S.D.N.Y. 2020)           extensive narcotics enterprise               witnesses
United States v. Borelli   No. 84-CR-63 (LAP),       Organized crime group murdered competitors   Murder
                           2021 WL 2228075
                           (S.D.N.Y. June 2, 2021)
